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DOUCET-SPEER & GIBBENS
A PROFESSIONAL LAW CORPORATION
POST OFFICE DRAWER 4303
LAFAYETTE, LOUISIANA 70502

STATE OF LOUISIANA
PARISH OF LAFAYETTE

THIS, CONTRACT OF EMPLOYMENT made and entered into by and
between JN eho e Minima k’e we hereinafter referred to as "CLIENT", and DOUCET-

SPEER, A PROFESSIONAL LAW CORPORATION, hereinafter referred to as "ATTORNEY".

, the has a olaim or claims arising out of HAs. 60 Soil] , which
cement 20 aot i] 0 1D, inthe Partshof Cald ot MeffState of Louisiana, and
whereas, CL desires ces of an attorney fo represent CLIENT in said claim, by conference,

negotiation, suit or otherwise;

CLIENT does hereby employ and retain ATTORNEY for these purposes, and ATTORNEY hereby
‘binds and obligates himself to render the services required in the premises wpon the following terms and

conditions:
1) Inthe event that ATTORNEYS are able to effect a settlement of the claim and/or clai without the
necessity of filing suit, he is to receive as compensation for his services "Vo percent of
whatever amount is collected;

2) _ In the event it is necessary to file suit or suits upon the claim and/or claims, ATTORNEY is to
receive as compensation for his services 33 4/3 percent of whatever amount is collected:

3) If the litigation goes to the Court of Appeal and/or Louisiana Supreme Court, then ATTORNEY is
to receive as compensation for his services 33 7/3 percent of whatever atnount is collected:

4) Expenses are to be the responsibility of CLIENT:

5) This contract is subject to the additional condition, to-wit:

ITIS UNDERSTOOD AND AGREED between the parties that this contract is intended to and does
hereby assign, transfer, set over and deliver unto Attorney as his fee, for the representation of CLIENT in
said claim and/or claims, an interest in the claim and/or clai under the terms and conditions aforesaid, in
accordance with the provisions of La. R.S, 37:218.

TT'IS FURTHER AGREED between the parties that the CLIENT shall be responsible and obligated
to repay to ATTORNEY any and all advances whether for court costs or for whatever reason. The CLIENT
does hereby grant DOUCET-SPEER, A PROFESSIONAL LAW CORPORATION, a lien and privilege
on settlement proceeds to the extent or to cover any and all sums or advancements made to CLIENT or on

ATTORNEY for expenses, said note(s) with interest and fees charged by such lending institution to be paid
as expenses from CLIENT’s portion of any recovery upon conclusion of ATTORNEY’s service. The
undersigned CLIENT further agrees to reimburse and/or advance to ATTORNEY for any interest he has paid

CLIENT’s Portion of any recovery or borrowing all such expenses and ATTORNEY fee without further
authorization by CLIENT. In the event ATTORNEY successfully obtains a recovery for CLIENT but the
gross amount of recovery is insufficient to pay ATTORNEY'S fee and all expenses (including notes), then
expenses (including notes outstanding) shall be paid from recovery first, and the balance shall be paid to
ATTORNEY as fee if any recovery remains,
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However, if ATTORNEY is unsuccessful in pursuing CLIENT’s case and no money or property is
collected by any means, then CLIENT does not owe ATTORNEY any fe or have any liability for any costs
{including any notes executed by CLIENT at request of ATTORNEY).

if CLIENT discharges ATTORNEY, or retains another attomey for any reason, CLIENT shail
immediately pay off all expenses incurred by ATTORNEY as well as such loans {and interest and fees
thereon), which are deemed to be expenses for all purposes of this contract.

CLIENT agrees that if prior to trial or appeal any defendant or defendants make a settlement offer
that Attorney recommends that CLIENT accept, but CLIENT refuses to accept such offer, then in such event
CLIENT shall be personally liable to Attomey for the expenses regardless of outcome at the trial or appeal.

IF ATTORNEY elects to represent CLIENT in any matter other than the tort claim described above,
ATTORNEY shall receive the maximum statutorily allowed contingent fee or hourly fee, according to law,
in discretion of ATTORNEY, on all recovery for CLIENT in longshoremen’s compensation cases, state
compensation cases, sovial security cases, federal tort claim cases, or similar matters, ATTORNEY reserves
the right to withdraw from representation of client at any time.

ITIS STIPULATED that neither ATTORNEY nor CLIENT may without the written consent of the
other, settle, compromise, release, discontinue, or otherwise dispose of the suits or claims.

Whenever the word "CLIENT" is used, it shal! be construed to mean "CLIENTS" and whenever the
word "ATTORNEY" is used, it shall be construed to mean “ATTORNEY'S".

THUS DONE AND SIGNED at Lafayette, Louisiana, in the presence of the undersigned competent

witnesses on this J-)- dayof Jud ¥ , 20/2,
Aékfétnén T FoR 4.R Laz
CLIENT 7 =~
Witness CLIENT
